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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS

DAVID AND ECKO JOHNSON                                 §       CIVIL ACTION NO.
                                                       §
               Plaintiffs,                             §
VERSUS                                                 §
                                                       §       SECTION:
THE NATIONAL FLOOD INSURANCE                           §
PROGRAM, BROCK LONG, in His Official                   §
Capacity as Administrator of the Federal               §
Emergency Management Agency, KIRSTJEN                  §       MAGISTRATE:
NIELSEN, in Her Official Capacity as Secretary         §
of the United States Department of Homeland            §
Security                                               §
                                                       §       JUDGE:
               Defendants,                             §

* * * * * * * * * * * * * * * * * * * * * * * * ** * * * * * * * * * * * * * * * * * * * * * * * * * *

                                 COMPLAINT FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, comes the Plaintiffs, DAVID AND

ECKO JOHNSON, who respectfully file as this complaint:

                                             PARTIES

       1.      Plaintiffs are DAVID AND ECKO JOHNSON, collectively persons of the full age

of majority and domiciled in Hardin County, Texas, who at all relevant times herein are the owners

of the residence at 223 West Pineshadows Drive, Sour Lake, TX 77659.

       2.      The Federal Emergency Management Agency (“FEMA”) is a federal agency under

the United States Department of Homeland Security that administers and issues flood insurance

policies pursuant to the National Flood Insurance Program and the National Flood Insurance Act

of 1968, as amended, 42 U.S.C. §4001, et seq. Defendant Brock Long is a proper party to this

action pursuant to 42 U.S.C. § 4072, which authorizes suit against the administrator of FEMA in

his official capacity to assert claims related to the disallowance or partial disallowance of a flood



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insurance claim. See also 44 C.F.R. §§ 61, App. A(1), Section VII(R), and 62.22. Defendant

Kirstejen Nielson is a proper party pursuant to section 503 of the Homeland Security Act of 2002,

Pub. Law 107 296, 5 U.S.C. §§301, et seq., which transferred all functions, personnel, and

liabilities of FEMA to the Secretary of the Department of Homeland Security.

       3.      At all relevant times NFIP provided flood insurance coverage to Plaintiffs under

Policy No. 4000136531. At the time of loss the policy limits for the flood policy were $250,000.00

for damage to the structure and $100,000.00 for damage to the contents, respectively.

                                    JURISDICTION AND VENUE

       4.      This Honorable Court has jurisdiction pursuant to 28 U.S.C. § 1331 as the dispute

involves a federal question and because an agency of the United States government is named as

defendant pursuant to 42 U.S.C. § 4072.

       5.      Venue is proper in the U.S. District Court of the Eastern District of Texas pursuant

to 28 U.S.C. § 1391 and 42 U.S.C. § 4072 because the damages occurred in Hardin County, State

of Texas.

                                                 FACTS

       6.      Between August 26 and September 1, 2017, Hurricane Harvey battered southeast

Texas with gale force winds and torrential rains causing unprecedented flooding throughout the

region. Upwards of sixty-one (61) inches of rain affected the area causing rivers to overflow,

producing toxic category three (3) contaminated water to inundate homes. These toxic waters

contaminated with sewage, escherichia coli and flesh-eating bacteria, and other harmful pathogens

did not recede for days and even weeks.

       7.      Plaintiffs property located at 223 West Pineshadows Drive, Sour Lake, Texas

77659 (hereinafter “property” or “residence”) was no exception.          Plaintiffs’ property was



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submerged in several feet of toxic flood water for approximately a week as a result of the storm.

Moisture, saturation, and contamination from prolonged submersion caused incredible damage to

the property.

       8.       At all times relevant hereto, Plaintiffs owned the property and resided there until

they were forced to evacuate due to the flooding.

       9.       At all times relevant hereto, Plaintiffs had an insurance contract in effect with NFIP

for flood dwelling coverage of the property. The applicable insurance contract specifically

provided coverage for the flood event that occurred in late August, early September of 2017.

       10.      Plaintiffs promptly notified NFIP of the flood damage and filed a claim for the flood

damage to the property.

       11.      Plaintiffs submitted an initial and timely proof of loss estimating the damages at

$199,199.59 under Coverage A – building.

       12.      The Federal Emergency Management Agency extended the deadline to file

supplemental proof of loss claims relating to flooding caused by Hurricane Harvey from the

standard 60 days to 365 days following the date of loss. See U.S. DEP’T OF HOMELAND SECURITY,

RELEASE NO. HQ-17-082, FEMA’S NATIONAL FLOOD INSURANCE PROGRAM ENHANCES THE FLOOD

CLAIMS PROCESS AND EXTENDS GRACE PERIOD FOR POLICY RENEWALS (Sept. 4, 2017).

       13.      On or about August 23, 2018, Plaintiffs submitted a timely supplemental proof of

loss including an estimate from their contractors to restore the home to pre-loss condition. The

proof of loss evidenced that the full cost to repair exceeded policy limits of $250,000.00.

       14.      Plaintiffs, individually and through their contractor, submitted invoices, receipts,

and other requested proof of expenses incurred and proofs of loss as required by the NFIP flood

policy, specifically, and Standard Flood Insurance Policy (“SFIP”), generally.



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       15.     NFIP has yet to remit full payment for covered losses despite amicable demand by

Plaintiffs and/or their representatives.

       16.     Plaintiffs have incurred additional liability for interest on costs incurred to make

the approved repairs to the covered losses that have gone unpaid by NFIP despite due proof that

the cost of reimbursable repairs and covered contents.

       17.     At all times material hereto, Plaintiffs have fully cooperated with NFIP and

provided access to the property, claim documentation, invoices, receipts, and all other requested

materials to the best of their ability. Plaintiffs have further satisfied all conditions precedent to

filing this Complaint.

                                           CAUSES OF ACTION

       18.     Plaintiffs have the following causes of action against Defendant, NFIP:

              i.         Breach of contract; and

               ii.       Other causes of actions that will be determined at trial.

                      FIRST CAUSE OF ACTION: BREACH OF CONTRACT

       19.     Plaintiffs reallege and reaver herein the allegations set forth in the preceding

paragraphs.

       20.     Plaintiffs and FEMA entered into a contract when Plaintiffs purchased and FEMA

issued the Flood Policy. The Flood Policy, at all times material hereto provided flood insurance

coverage to Plaintiffs. Pursuant to the terms and conditions of the aforementioned Flood Policy,

NFIP is obligated to pay Plaintiffs for their flood loss up to the full extent of damages incurred,

minus any applicable deductible amount, for structure and contents coverages.

       21.     Plaintiffs duly performed and fully complied with all of the conditions of the Policy

and conditions precedent to filing this Complaint. Plaintiffs provided timely notice of their loss to



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NFIP, which has, contrary to the terms of the policy, failed to pay for all flood-related damages,

which are within the limits of the available coverage. Plaintiffs strictly complied with the proof

of loss requirements for payment on an SFIP claim and submitted it to FEMA within the deadline.

As a result of NFIP’s breach of the terms of the Flood Policy, Plaintiffs has and will incur

substantial costs that he would not otherwise have had to incur.

       22.      FEMA unjustifiably failed and/or refused to perform its obligations under the

Policy and wrongfully denied or unfairly limited payment of the Plaintiffs’ claims.

       23.      FEMA failed to perform and materially breached the insurance contract when it

wrongly failed to pay Plaintiffs for damages the flood caused to the covered property.

       24.      FEMA violated the National Flood Insurance Act (“NFIA”), flood insurance rules

and regulations, and Federal common law by, among other things:

             a. Failing to fairly and timely adjust and pay on the flood claim at issue;

             b. Failing to properly train and supervise its adjusters, claims examiners,

                representatives and agents;

             c. Failing to honor Plaintiffs’ satisfactory proof of loss;

             d. Failing to provide its adjusters, claims examiners, representatives and agents with

                proper and uniform materials with which to evaluate claims;

             e. Failing to account for the shortage of labor and contractors following Hurricane

                Harvey, and the prevalence of contractor misconduct and fraud;

             f. Failing to account for the increase in labor, materials, costs, and time in evaluating

                Plaintiffs’ claim; and

             g. Failing to inform the Plaintiffs of flood policy limitations and exclusions.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs is entitled to full insurance coverage under the NFIP flood

insurance policy for the damages to the insured property and other such equitable relief set forth

in the petition including, but not limited to:

               i. The difference between what the Defendant has paid and the actual loss

                   and expenses incurred by Plaintiffs plus legal interest thereon from the

                   date of the loss until paid; and

               ii. Any and all equitable relief deemed appropriate by this Court.

        WHEREFORE, Plaintiffs DAVID AND ECKO JOHNSON pray that Defendant, NFIP

National Flood Insurance Company, be duly cited to appear and answer this Complaint, that it be

served with same together with this Complaint, and that after due proceedings had, there be

judgment in favor of Plaintiffs and against NFIP National Flood Insurance Company in an amount

to be determined by the Court together with legal interest thereon from the date of the loss until

paid.

                                                      Respectfully submitted,

                                                      /s/ Jeremiah N. Johns
                                                      __________________________________
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                                                      JOHNSON




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